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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARIA R. MARTINEZ,

                       Plaintiff,
                                                         No. 1:18-CV-04334
         v.
                                                         Hon. Charles R. Norgle, Sr.
CALIBER HOME LOANS, INC.,
A Delaware corporation, et al.,

                       Defendants.



                                     NOTICE OF MOTION

         Please take notice that on Friday, November 30, 2018, at 10:30 a.m., or as soon thereafter

as we may be heard, we shall appear before the Honorable Charles R. Norgle Sr., Courtroom

2341, the United States Courthouse, 219 South Dearborn Street, Chicago, Illinois, and then and

there present the attached Fifth Motion to Extend Time to Answer or Otherwise Plead, a copy

of which is herewith served upon you.


                                              U.S. Bank Trust and Caliber Home Loans, Inc.


                                              By: /s/ Yasamin N. Oloomi
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